Case 1:16-cv-24026-FAM Document 49 Entered on FLSD Docket 06/16/2017 Page 1 of 7



                       UN ITED STATES DISTRICT COURT FOR THE
                            SO UTH ERN DISTRICT O F FLO RID A
                                      M iam iD ivision

                             C ase N um ber:16-24026-C lV -M O R EN O

 JO SHU A D OM ON D and H AR OLD H UN TER,
 JR.,

               Plaintiffs,
 VS.

 PEOPLEN ETw O RK A Ps,d/b/a
 BEAU TIFU LPEOPLE.CO M ,BEA UTIFU L
 PEOPLE,LLc,GREG HODGE,and
 GEN EV IEV E H O DG E

               D efendants.
                                                   /

                       O R D ER G R AN TIN G M O TIO N TO D ISM ISS

        Plaintiffsbring varioustrademark claim sagainstthe Defendantsfortheiruse oftheterm

 tkBeautifulPeople''asa domain nam e forits online dating service and in promotionalm aterials.

 The Second Amended Complaint's factual allegations establish the Defendants' registered

 website and use ofthe term tkBeautifulPeople''in theirpromotionalm aterialspredate Plaintiffs'

 tradem arks by severalyears. To asserttradem ark infringem ent claim s,a plaintiffm ust as a

 threshold matter allege that its fsuse of the mark.. .predatels) the defendant's potentially
 confusing mark.''feigh v.WarnerBros.Inc.,212 F.3d 1210,1216-17 (11th Cir.2000). lnthis
 case,Plaintiffs'allegations do notm eetthis thzeshold and the Courtappropriately dism isses the

 Second A m ended Com plaint.

        THIS CAUSE came before the Courtupon Defendants'M otion to Dismiss(D.E.32),
 filed on D ecem ber2.2017.
Case 1:16-cv-24026-FAM Document 49 Entered on FLSD Docket 06/16/2017 Page 2 of 7



        THE COURT has considered the motion,the response pertinentportionsofthe record,

 and being otherwise fully advised in the prem ises,itis

        ADJUDGED thatthemotionisGRANTED andthecaseisDISM ISSED withprejudice.
 The Courtdoes not grant Plaintiffs leave to amend as nmendment is futile given Plaintiffs'

 admission thatDefendants'use ofthem ark predatestheirtradem ark registrations.

                                          1.B ackaround

        Plaintiffs, Joshua Dom ond and Harold Hunter, Jr., the owners of Beautiful People

 M agazine, lnc., are suing Defendants for trademark infringem ent, unfair competition, and

 deceptive and unfairtrade practices. Defendant Peoplenetwork,APS is the registrant ofthe

 intem etdom ain name www.beautifulpeople.com . DefendantBeautifulPeople LLC isa public

 relationsand marketing consultancy com pany retained by Peoplenetwork. DefendantsGreg and

 GenevieveHodgearejointownersofBeautifulPeopleLLC,buthaveno ownership interestin
 Peoplenetw ork.
        Peoplenetwork has been using the BeautifulPeople m ark in connection with its online

  dating and social networking services since at least February 21,2002,initially through its

  Danish website:beautifulpeople.dk and then in 2003 through itswebsitebeautifulpeople.net.On

  September 25,2005,Peoplenetwork acquired and registered the beautifulpeople.com domain

  name,which has since been the primary name for its website. As early as M arch 31,2002,

  Peoplenetwork began posting its BeautifulPeople calendarson itswebsite. On September 30,

  2008,Peoplenetwork launched a tkBeautifulPeople''reality show in Canada,which could be

  viewed online. A11ofPeoplenetwork'swebsitesare accessible forviewing in the United States.

  Approxim ately, 8 million people have registered to becom e members of Peoplenetwork's

  BeautifulPeople online dating website.
Case 1:16-cv-24026-FAM Document 49 Entered on FLSD Docket 06/16/2017 Page 3 of 7



         Plaintiffs'Second Am ended Com plaintindicatesthatBeautifulPeopleM agazinedatesto

 2006. BeautifulPeople M agazine,lnc.released its first issue in October 2014. The Second

 Amended Complaint states that Beautiful People M agazine applied for the m ark SsBeautiful

 People in Action''on M ay 5,2008. The United StatesTradem ark Oftice issued the registration

 on September 21,2010. Plaintiffs also applied for the mark Beautiful People M agazine on

 D ecem ber 13,2010 and the resulting registration w as issued on D ecem ber 9, 2014. Plaintiff

 Joshua Domond also applied forthem ark çûBeautifulPeople Fashion W eek Seven:SealofGod,

 Trinity Father,Son,and the Holy Spirit''on November 19,2013 and the resulting regijtration

 was issued on February 23, 2016. Plaintiffs' Second Amended Complaint adm its that

 Defendants'useofthewebsitepredatestheirtradem ark applications.
         D efendants'm otion to dism iss outlines the history ofthe parties'relationship.l Plaintiffs

 applied to registerthe BeautifulPeople M agazine m ark before the U .S.Patentand Trademark

 O ftice,and they intended to use the m ark in connection w ith a dow nloadable m agazine. D ecl.of

 DavidCaplan,ExhibitF (Recordsfrom U.S.PatentandTrademarkOffice).Defendantsopposed
 the application on the ground that it would likely cause consum er confusion as to whether

 Plaintiffs'm agazine w as published,sponsored,or approved by Defendant Peoplenetw ork. 1d.at

 ExhibitD (NoticeofOppositionfiled in U.S.Patentand Trademark Office).Dueto thelengthy
 discovery,Peoplenetw ork decided not to pursue the opposition.ld ;Joshua D om ond v. J7.J7,


 lDefendantshaveprovided theCourtwithrecordsfrom theU.S.PatentandTrademark Oftke.Robertsv.Gordy
 No.13-24700-ClV-W ILLlAMS,2015WL 12911328,n.3(S.D.Fla.Sept.15,2015)(takingjudicialnoticeof
 recordsfrom theU.S.PatentandTrademarkOffice).A courtmaytakejudicialnoticeofandconsiderdocuments
 attached toam otiontodism issorresponse,which arepublicrecordsthataredscentral''to aplaintiffsclaim s,
 withoutconvertingthemotiontodismissintoamotionforsummaryjudgment.Thisisso,aslongassuch
 documentsaredtpublicrecordsthat(are)çnotsubjecttoreasonabledispute'becausethey(arelGcapableofaccurate
 and readydetenninationby resortto sourceswhoseaccuracy couldnotreasonably bequestioned.'''H ornev.Potter,
 392F.App'x800,802(11thCir.2010)(quotingFed.R.Evid.20l(b)).Therecordsfrom theU.S.Patentand
 Tradem arkOfficeprovidecontextinthiscase.Thatbeingsaid,theCourtreliessolely ontheallegationsofthe
 SecondAmendedComplaintinadjudicatingthemeritsoftheMotiontoDismiss.

                                                      3
Case 1:16-cv-24026-FAM Document 49 Entered on FLSD Docket 06/16/2017 Page 4 of 7



  Inc.,113U.S.P.Q.2d 1264,2015W L 370040(TrademarkTr.& App.Bd.Jan.2,2015)(finding
  petitionerDomond'sdiscoveryrequestsvoluminous).
          On February 25,2015,Plaintiffs soughtthetransferofPeoplenetwork's domain name to

 them selves by filing a complaintunderthe Uniform Dom ain Name Dispute Resolution Policy.

 Decl. of David Caplan,ExhibitL at86.2 A three-m ember panelfound thatPeoplenetwork's

 registration of its domain names and their services predate Beautiful People M agazine's

 registration by severalyears.f#.The panelrejected Plaintiffs' claims and found Plaintiffs,
 through theirpredecessorcompany,had tdengaged in reverse domain hijacking.''1d at96-97.
 (çkgA) finding of greverse domain name hijacking)is warranted if the Complainantknew or
 should haveknown atthe time itfiled the Com plaintthatitcould notprove one ofthe essential

 elem ents required by the Policy . . . (S)uch a t
                                                 inding is particularly appropriate where the
 Respondent's registration ofthe dom ain nam e predatesthe very creation ofthe Complainant's

 trademark.'')
                                            lI. L ezalStandard

         ti'
           l-o surviveam otion to dism iss,plaintiffsmustdo m orethan m erely statelegal

 conclusions,''instead plaintiffsmusttdallegesome specitk factualbasisforthoseconclusionsor

 facedism issaloftheirclaim s.''Jackson v. BellsouthTelecomm.,372F.
                                                                  3d 1250,1263(11th Cir.
 2TheUniform Domain NameDisputeResolution panel'sdecision isnotreferenced in theSecond Amended
 Complaint;thus,thiscourtwillonlyconsideritonamotiontodismissifitissubjecttojudicialnotice.Green Tree
 Fin.Corp.v.Honen voodDev.Corp.,N o.98C 2332,2001W L 62603, at*6n.      4(N.D.111.Jan.24,2001).Courts
 havetakenjudicialnoticeofarbitrationdecisions.Seesktzckçv.SouthwesternBellYellow Pages,Inc.,27F.3d1316,
 l326n.3(8thCir.1994);Yerkovichv.MCAInc.,11F.Supp.2d 1167,1169n.2(C.D.Cal.l997).lnanyevent,the
 courtisnottakingjudicialnoticeofthePanel'sdecisionforthepurposeofestablishingthetruthofmattersasserted
 in thearbitration.GeneralElec.CapitalCorp.v feaseResolutionCorp.
                                              .                   ,128F.3d1074,108ln.6(explainingrole
 ofjudicialnoticeandciting,interalia,LibertyMut.Ins.Co.v.RotchesPorkPackers,Inc.,969F.2d l384,1388(2d
 Cir.1992)(ççacourtmaytakejudicialnoticeofadocumentfiledinanothercourttnotforthetnzthofthematters
 asserted intheotherIitigation,butratherto establishthefactofsuch litigationandrelated filings''')).Thepanel's
 decision doesnotimpactthisCourt'sresolution ofthemotionto dism iss, buttheCourtfindsitsexistenceprovides
 context.TheCourt'sdecisiononthemotionto dism issisbased ontheallegationsofthe Second Amended
 Complaint.
Case 1:16-cv-24026-FAM Document 49 Entered on FLSD Docket 06/16/2017 Page 5 of 7



 2004).Whennzlingonamotiontodismiss,acourtmustview thecomplaintinthelightmost
 favorableto theplaintiffand accepttheplaintiffswell-pleaded factsastnze. SeeSt.Joseph'
                                                                                      s

 Hosp.,lnc.v.Hosp.Corp.ofAm.,795F.2d948,953(11thCir.1986).Thistenet,however,does
  notapplytolegalconclusions.SeeAshcrojtv.lqbal,129 S.Ct.1937,1949(2009).M oreover,
  tsgwqhilelegalconclusionscanprovidetheframeworkofacomplaint,theymustbesupportedby
  factualallegations.''Id at1950. Those''gfjactualallegationsmustbeenoughtoraisearightto
 reliefabovethe speculativelevelon theassum ption thatallofthecom plaint'sallegationsare

  true.''BellAtl.Corp.v.Twombly,550U.S.544,545(2007).In short,thecomplaintmustnot
  m erely allege a m isconduct,butm ustdem onstrate thatthe pleaderisentitled to relief. See Iqbal,

  129 S.Ct.at1950.

                                              111.A nalvsis

            In their Second Am ended Complaint,Plaintiffs allege tradem ark infringem ent,unfair

  competition,and contributory trademark infringementunderthe Lanham Act,15 U.S.C.jj
  111441),1125(a),and theFloridacommon law. To prevailon each ofthese claims,Plaintiffs
  f'mustshow (1)thatitsmark haspriority and (2)thatthe defendant'smark islikely to cause
  consumerconfusion.''CarnivalBrand Seafood Co.v.CarnivalBrands,Inc.,187 F.3d 1307,
  1309(11thCir.1999),
                    .SuntreeTechnologies,Inc.v.Ecosenselntern.,Inc.,693 F.3d 1338,1345
  (11thCir.2012)(ç'Tobeliableforcontributorytrademark infringement,adefendantmusthave.
  . .
        intentionally induced anotherto infringe a trademark'';requiring the plaintiffto prove direct

  infringement);Tall
                   y-Ho,Inc.v.CoastCommunity CollegeDist,889 F.2d 1018,1022-23 (11th
  Cir.1989)(ttunderthe gFloridalcommon law,trademark rightsare appropriated only through
  actualprior use in com m erce.. .'
                                   I'
                                    he firstto use a m ark on a product or service in a particular

  geographicmarket,thesenioruser,acquiresrightsin themark in thatmarket.''l'
                                                                           ,EdgeSystems
Case 1:16-cv-24026-FAM Document 49 Entered on FLSD Docket 06/16/2017 Page 6 of 7



 LLC v.Aguila,186 F.Supp.3d 1330,1359 (S.D.Fla.2016)(ût-
                                                       l-he legalstandardsforFlorida
 statutory and comm on law claim s of trademark infringem entand unfair com petition tare the

 sam easthoseforfederalclaim softrademark infringementand tmfaircompetition.''
                                                                             ').
         Defendants are moving to dismiss Plaintiffs'claims with prejudice. In their motion,
 Defendantsarguethe Second Am ended ComplaintestablishesthatDefendantPeoplenetwork has

 priority ofuse in isBeautifulPeople.'' Defendants also argue the Stfairuse''defense applies to

 fortclose Plaintiffs'trademark claim s.3 TheindividualDefendants, Greg and GenevieveHodge,

 arguethisCourtlackspersonaljurisdiction overthem.4
        A .Priority Defense

         To asserteither a comm on law or federal statutory trademark infringement claim , a

 plaintiffmustasathreshold m atterallege thatitsçûuseofthe m ark. . . predategs)thedefendant's

 potentially confusing m ark.''feigh v. Warner Bros. Inc.,212 F.
                                                               3d 1210,1216-17 (11th Cir.
 2000). Priority ofuse isathreshold issue thatmustbe resolved priorto addressing issuesof
 validity and likelihood ofconsumerconfusion. PopularBank ofFlorida v.Banco Popularde
 Puerto Rico,9F.Supp.2d 1347,1353 (S.D.Fla.1998). Plaintiffscnnnotmeettheirburden to
 establish priority ofuse sim ply by tiling a federalregistration. To stateviabletrademark claim s,

 Plaintiffs m ust allege that they used the Beautiful People m ark in the relevant m arket before

 Defendantsactually used theterms.1d.Plaintiffs'Second Am ended Com plaintadm itsthisisnot

 3Genera11y,the fairuse defense isnotripeforadjudication on a motion to dismiss in acopyrightinfringement
 action.Katzv.Chevaldina,900F.Supp.2d13l4,1315(S.D.Fla.2012).TheCourtneednotreachtheissueinany
 eventastheDefendantshave establishedtheyhadpriority ofuse.

   Because the Courtfinds the Defendantshave established theirpriority ofuse, the Courtneed notreach the
personaljurisdiction argument. ln any event,ifthe Courtwere to undergo apersonaljurisdiction analysis,the
requirem ents ofFlorida's long arm stattlte are notm et. The allegationsofG reg and Genevieve Hodge's virtual
presence in the state and their actions taken through the Beautiful People LLC are insufticient to meet the
requirem entthattherebetçsubstantialand notisolated activity''inthe state. j48.193,Fl
                                                                                    a.Stat.(2016),
                                                                                                 .seeDelong
Ejui
   qmentCo.v.WashingtonMillsAbrasiveCo.,840F.2d843,852(11thCir.1988)(çdgulndersounddueprocess
prlnclples,thenexusbetweenthecorporateagentlslandtheforum stateistootenuoustosupportjurisdiction over
theagentls)personally....'').
                                                     6
Case 1:16-cv-24026-FAM Document 49 Entered on FLSD Docket 06/16/2017 Page 7 of 7



 the case. Plasmart, Inc. v. Wincell1nt1 Inc., 442 F.Supp.2d 53, 60-61 (S.D.
                                                                           N.Y.2006).
 (holdingthatitwasunlikely plaintiffcould stateaclaim fortrademark infringementbecausethe
 allegedly infringing usebegan beforetheplaintiffacquired any tradem ark rights.).

         The Second Am ended Complainthere establishes Defendants launched theirwebsite in

 Denm ark in 2002 and in theUnited Statesand the United Kingdom in 2005. Plaintiffsadm itthat

 although their m agazine,Beautiful People, dates to 2006,their tirstissue printed in October

 2014. Plaintiffs'otherregistration forBeautifulPeople in Action has a tirstuse date ofAugust

 31,2009. Plaintiffs'allegations in the Second Am ended Com plaintestablish thatDefendants

 havepriority ofuse. The allegationssimply cannotstateclaim sfortrademark infringem ent.

        Ordinarily,dtlijftheunderlyingfactsorcircumstancesreliedupon byaplaintiffmaybea
 propersubjed ofrelief,''leaveto amend should befreely given.Hallv.UnitedIns.Co.ofAm.,
 367F.3d 1255,1263(11th Cir.zoo4ltquotingFomanv.Davis,371U.S.178,182 (1962))(citing
 Fed.R.Civ.P.15(a)). TheCourtmayproperly deny leaveto amendthe complaintunderRule
 15(a)whensuchamendmentwouldbefutile.f#. Inthiscase,thePlaintiffshavefiled aSecond
 Amended Complaint and the allegations regarding the dates of use establish the Defendants'

 priority of use. Accordingly,the Court finds amendm ent is futile as the Plaintiffs' factual

 allegations clearly preclude Plaintiffs'tradem ark claim s.

        DONE AN D ORDERED in ChambersatM iami, Florida,this                 ofJune2017.
                                                               ae-.'-




                                               FE   1CO A .M OREN O
                                               UN TED STATES D ISTRICT JUD G E

 Copies furnished to:

 CounselofRecord




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